      Case 4:16-cv-00158 Document 26 Filed on 06/18/19 in TXSD Page 1 of 2




                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

SCOTT CHINITZ, Derivatively on behalf of        §
Flotek Industries, Inc.,                        §
                                                §
       Plaintiff,                               §
                                                §
v.                                              §
                                                §
JOHN W. CHISHOLM ET AL., ,                      § Civil Action No. 4:16-cv-0158
                                                §
       Defendants, and                          §
                                                §
Flotek Industries, Inc.,                        §
                                                §
       Nominal Defendant.                       §



     PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE


       NOTICE IS HEREBY GIVEN that, pursuant to Federal Rule of Civil Procedure

41(a)(1)(A), Plaintiff Scott Chinitz (“Plaintiff”) hereby voluntarily dismisses his action, Chinitz

v. Chisholm, et al., No. 16-cv-0158 (the “Action”), brought before the United States District

Court for the Southern District of Texas, without prejudice, as to all defendants and with each

side to bear its own costs in connection with the Action. As grounds thereof, Plaintiff states that

no defendant has filed an answer or a motion to dismiss Plaintiff’s action. Moreover, neither

Plaintiff nor Plaintiff’s counsel has received any remuneration in connection with the proposed

dismissal of this action.

Dated: June 18, 2019                                 Respectfully submitted,

                                                     /s/ John H. McFarland
                                                     Federal ID No. 19423
                                                     Texas State Bar No. 00794270
                                                     JOYCE + McFARLAND LLP



                                                1
Case 4:16-cv-00158 Document 26 Filed on 06/18/19 in TXSD Page 2 of 2




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                                 2
